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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

   UNITED STATES OF AMERICA

   VS.                                                      CASE NO: 6:20-cr-97-GAP-LRH

   JOEL MICAH GREENBERG



                          ORDER REVOKING CONDITIONS OF RELEASE

          Pursuant to 18 U.S.C. § 3148(B) a hearing was held on the Government's motion for

   revocation of conditions of Defendant's release. Appearing were: Defendant, personally, counsel

   for the Defendant and the Assistant United States Attorney.

          Based upon the evidence received, the Court finds:

          Clear and convincing evidence Defendant violated conditions of release as set forth in the

          Petition for Action on Conditions of Pretrial Release filed 3/2/2021 (Doc. 81).

   The Court further finds the Defendant shall be detained because:

          There are no combination of conditions of release, based on the factors set forth in
          21 U.S.C. § 3142(g) that will reasonably assure the Defendant’s appearance.

   IT IS ORDERED that the Defendant shall be detained in the custody of the U.S. Marshals

   Service.   3rd day of March, 2021
